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EXHIBIT D




NRIC Bank Statement – value of reserve and date post Biles settlement.




                                       43
                                                                                                                          Business Statement
                                                                                                                                       Account Number:
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                      P.O. Box 1800
                                                                                                                                        1 500 9580 0796
                      Saint Paul, Minnesota 55101-0800                                                                                 Statement Period:
                      5260       TRN                                     Y        ST01                                                      Aug 1, 2012
                                                                                                                                                through
                                                                                                                                           Aug 31, 2012

                                                                                                                                             Page 1 of 1


                       000080625 1 SP     106481758672291 S
                       NORTHERN ROCKIES INSURANCE COMPANY LLC                                                                      To Contact U.S. Bank
                       1739 SPRING CREEK DR STE 200
                       BILLINGS MT 59102-6756                                                       24-Hour Business
                                                                                                    Solutions:                           1-800-673-3555


                                                                                                    Telecommunications Device
                                                                                                    for the Deaf:                        1-800-685-5065
                                                                                                    Internet:                               usbank.com


PREFERRED BUSINESS MONEY MARKET                                                                                                         Member FDIC
U.S. Bank National Association                                                                                      Account Number 1-500-9580-0796
Account Summary
                                       # Items
Beginning Balance on Aug 1                         $             2,953,344.31        Annual Percentage Yield Earned                            0.10%
Customer Deposits                         1                      2,800,000.00        Interest Earned this Period           $                   214.58
Other Deposits                            3                            268.58        Interest Paid this Year               $                   245.59
Other Withdrawals                         3                      2,800,054.00 -      Number of Days in Statement Period                            31

       Ending Balance on Aug 31, 2012 $                          2,953,558.89

Customer Deposits
Number              Date          Ref Number                         Amount
                    Aug 6         9798747710                    2,800,000.00
                                                                                            Total Customer Deposits            $         2,800,000.00

Other Deposits
Date       Description of Transaction                                                                      Ref Number                         Amount
Aug 8      Reversed Fee                                  Returned Deposited Item                                               $                19.00
Aug 8      Refunded Overdraft Charge                                                                                                            35.00
Aug 31     Interest Paid                                                                                   3100005779                          214.58
                                                                                                Total Other Deposits           $               268.58

Other Withdrawals
Date       Description of Transaction                                                                      Ref Number                          Amount
Aug 2      Returned Deposited Item                       Fee                                               1000104244          $                19.00-
Aug 2      Deposited Item Returned                                                                         1000104244                    2,800,000.00-
Aug 3      Overdraft Charge                                                                                1000104244                           35.00-
                                                                                            Total Other Withdrawals            $         2,800,054.00-




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                                                      BALANCE YOUR ACCOUNT
                                                      To keep track of all your transactions, you should balance your account every month. Please
                                                      examine this statement immediately. We will assume that the balance and transactions shown are
                                  Case 1:17-cr-00077-SPW       Document
                                                      correct unless             58-4
                                                                     you notify us         Filed 09/04/18 Page 3 of 3
                                                                                    of an error.

Outstanding Deposits
DATE                          AMOUNT                                     1. List any deposits that do not appear on your statement in the Outstanding Deposits section at
                                                                            the left. Record the total.

                                                                         2. Check off in your checkbook register all checks, withdrawals (including Check Card and ATM)
                                                                            and automatic payments that appear on your statement. Withdrawals that are NOT checked off
TOTAL                         $
                                                                            should be recorded in the Outstanding Withdrawals section at the left. Record the total.

Outstanding Withdrawals                                                  3. Enter the ending balance shown on this statement.                                               $_____________
DATE                          AMOUNT
                                                                         4. Enter the total deposits recorded in the Outstanding Deposits section.                          $_____________

                                                                         5. Total lines 3 and 4.                                                                            $_____________

                                                                         6. Enter the total withdrawals recorded in the Outstanding Withdrawals section.                    $_____________

                                                                         7. Subtract line 6 from line 5. This is your balance.                                              $_____________

                                                                         8. Enter in your register and subtract from your register balance any checks, withdrawals or other
                                                                            debits (including fees, if any) that appear on your statement but have not been recorded in your
                                                                            register.

                                                                         9. Enter in your register and add to your register balance any deposits or other credits (including
                                                                            interest, if any) that appear in your statement but have not been recorded in your register.

                                                                         10. The balance in your register should be the same as the balance shown in #7. If it does not
                                                                             match, review and check all figures used, and check the addition and subtraction in your register.
                                                                             If necessary, review and balance your statement from the previous month.
TOTAL                         $


IMPORTANT DISCLOSURES TO OUR CONSUMER CUSTOMERS
In Case of Errors or Questions About Your Checking, Savings, ATM, Check Card, ACH, Bill Pay and Other Electronic Transfers
If you think your statement or receipt is wrong or if you need more information about a transfer on the statement or receipt, we must hear from you no later than 60 days* after we sent you
the FIRST statement on which the error or problem appeared. Telephone us at the number listed on the front of this statement or write to us at U.S. Bank P.O. Box 64991 St. Paul, MN
55164-9505.
   Tell us your name and account number.
   Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe there is an error or why you need more information.
   Tell us the dollar amount of the suspected error.
We will tell you all the results of our investigation within 10 business days and will correct any error promptly. If we need more time, we may take up to 45 days to investigate your complaint.
In that case, we will provisionally credit your account for the amount you think is in error, so that you will have the use of the money during the time it takes us to complete our investigation.
For transfers initiated outside the United States or transfers resulting from point of sale debit card transactions, the time period for provisional credit is 10 business days and the time to
resolve the investigation is 90 days.
    *Please note: Paper draft and paper check claims must be disputed within 30 days per Your Deposit Account Agreement.

CONSUMER BILLING RIGHTS SUMMARY
What To Do If You Think You Find A Mistake on Your Statement
If you think there is an error on your statement, write to us at: U.S. Bank, P.O. Box 64991, St. Paul, MN 55164-9505. In your letter, give us the following information:
   Account information: Your name and account number.
   Dollar Amount: The dollar amount of the suspected error.
   Desicription of problem: If you think there is an error on your bill, describe what you believe is wrong and why you believe it is a mistake.
You must contact us within 60 days after the error appeared on your statement. You must notify us of any potential errors in writing. You may call us, but if you do we are not required to
investigate any potential errors and you may have to pay the amount in question.
While we investigate whether or not there has been an error, the following are true:
   The charge in question may remain on your statement, and we may continue to charge you interest on that amount. But, if we determine that we made a mistake, you will not have to
   pay the amount in question or any interest or other fees related to that amount.
   While you do not have to pay the amount in question, you are responsible for the remainder of your balance.
   We can apply any unpaid amount against your credit limit.

SPECIAL RULE FOR CREDIT CARD PURCHASES
If you have a problem with the quality of the goods or services that you purchased with a credit card, and you have tried in good faith to correct the problem with the merchant, you may not
have to pay the remaining amount due on the goods or services. You have this protection only when the purchase price was more than $50 and the purchase was made in your home state
or within 100 miles of your mailing address. If we own or operate the merchant, or if we mailed you the advertisement for the property or services, all purchases are covered regardless of
amount or location of purchase.

RESERVE LINE
Reserve Line Balance Computation Method: To calculate the Balance Subject to Interest Rate (sometimes referred to as the "average daily balance"), we take the beginning balance of
your account each day, add any new advances, and subtract any payments, credits and unpaid interest charges. This gives us a daily balance. Then, we add up all the daily balances for
the billing cycle and divide the total by the number of days in the billing cycle. This is your Balance Subject to Interest Rate. The ***INTEREST CHARGE*** begins from the date of each
advance.

REPORTS TO AND FROM CREDIT BUREAUS
We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults on your account may be reflected in your credit report.

IMPORTANT DISCLOSURES TO OUR BUSINESS CUSTOMERS
Errors related to any transaction on a business account will be governed by any agreement between us and/or all applicable rules and regulations governing such transactions, including the
rules of the National Automated Clearing House Association (NACHA Rules) as may be amended from time to time. If you think this statement is wrong, please telephone us at the number
listed on the front of this statement immediately.




Member FDIC


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